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                                                                             2DI2       26
                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )   4:11CB3006
                               Plaintiff,        )
                                                 )
                v.                               )
                                                 )
JAMES D. WINTERS,                                )   MOTION AND ORDER TO
                                                 )   DISMISS
                               Defendant.        )

         COMES NOW the United States, by and through the undersigned Assistant United States

Attorney, and moves the Court to dismiss Violation Notice #Wl157731 at the request of the case

agent.

         Dated this 25th day of January, 2012.

                                                            UNITED STATES OF AMERICA

                                                     By:      DEBORAH R. GILG
                                                              United States AttOTIley
                                                              District of Nebraska


                                                     And:   ~-
                                                            ALAN L. EVERETT #15387
                                                            Assistant U. S. Attorney
                                                            487 Federal Building
                                                            100 Centennial Mall North
                                                            Lincoln, Nebraska 68508
                                                            Telephone: (402) 437-5241


         IT IS SO ORDERED thisC)ll!day of January, 2012.

                                                     BY THE COURT:
